     Case 2:20-cv-02892-SHL-tmp   Document 531   Filed 11/21/23   Page 1 of 5
                                  PageID 33289



                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION


JESSICA JONES, et al.,                   Case No. 2:20-cv-02892-SHL-tmp

                Plaintiﬀs,

v.

VARSITY BRANDS, LLC, et al.

                Defendants.

                                         JURY DEMAND



 PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE REPLY IN SUPPORT
     OF MOTION FOR LEAVE TO FILE LATE-PRODUCED DOCUMENT IN
                OPPOSITION TO SUMMARY JUDGMENT




 Case No. 2:20-cv-02892-SHL-tmp
 PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF MOTION FOR LEAVE TO
        FILE LATE-PRODUCED DOCUMENT IN OPPOSITION TO SUMMARY JUDGMENT
    Case 2:20-cv-02892-SHL-tmp            Document 531        Filed 11/21/23     Page 2 of 5
                                          PageID 33290



       Plaintiffs Jessica Jones and Christina Lorenzen (“Plaintiffs”), seek leave from the Court

to file a reply in support of their Motion for Leave to File Late-Produced Document in

Opposition to Summary Judgment, ECF No. 523, for the following reasons.

       Defendant Charlesbank’s Opposition to Plaintiffs’ Motion for Leave to File Late-

Produced Document in Opposition to Summary Judgment, ECF No. 527 (the “Charlesbank

Opposition”), claims that Plaintiffs have had access to the document they now seek to file since

September 2021. Id. at ¶ 2. This is wrong. Plaintiffs had access to Charlesbank’s website in

2021, which included a case study about Varsity. That case study is no longer available on the

Charlesbank website. Charlesbank only produced the document in question to Plaintiffs on

October 6, 2023, after Plaintiffs had filed their opposition to Charlesbank’s motion for summary

judgment. See Declaration of David H. Seidel in Support of Plaintiffs’ Motion for Leave to File

Late-Produced Document in Opposition to Summary Judgment, ECF No. 522-1 (the “Seidel

Declaration”) at ¶ 2.

       Charlesbank asserts that the drafts of webpage language it produced during discovery

were “substantively the same or very similar to the version” Varsity produced to Plaintiffs on

October 6, 2023, 14 months after the close of discovery. Charlesbank Opposition at ¶ 5.

Charlesbank produced 5 redlines that purport to support Charlesbank’s argument, but each of the

redlines shows substantial differences from draft to draft and to the October 6 version. See Seidel

Declaration, ¶ 4.

       Charlesbank also asserts that Plaintiffs were dilatory in not including the late-produced

document with their opposition to Charlesbank’s motion for summary judgment. Charlesbank

Opposition at ¶ 6. But as noted above, Charlesbank did not produce the document until three

weeks after Plaintiffs filed their opposition.


 Case No. 2:20-cv-02892-SHL-tmp        1
 PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF MOTION FOR LEAVE TO
        FILE LATE-PRODUCED DOCUMENT IN OPPOSITION TO SUMMARY JUDGMENT
    Case 2:20-cv-02892-SHL-tmp           Document 531         Filed 11/21/23       Page 3 of 5
                                         PageID 33291



       Plaintiffs seek leave to address these and other issues in a brief reply, attached hereto as

Exhibit A.


Dated: November 21, 2023                         Respectfully submitted,

                                                 By:       /s/ Joseph R. Saveri
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 Case No. 2:20-cv-02892-SHL-tmp        2
 PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF MOTION FOR LEAVE TO
        FILE LATE-PRODUCED DOCUMENT IN OPPOSITION TO SUMMARY JUDGMENT
  Case 2:20-cv-02892-SHL-tmp   Document 531      Filed 11/21/23     Page 4 of 5
                               PageID 33292



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Case No. 2:20-cv-02892-SHL-tmp        3
PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF MOTION FOR LEAVE TO
       FILE LATE-PRODUCED DOCUMENT IN OPPOSITION TO SUMMARY JUDGMENT
    Case 2:20-cv-02892-SHL-tmp            Document 531          Filed 11/21/23      Page 5 of 5
                                          PageID 33293



                             CERTIFICATE OF CONSULTATION

       I hereby certify, pursuant to Local Rule 7.2(a)(1)(B), that on November 21, 2023, my

colleague, Louis Kessler, emailed counsel for Defendants (specifically Steven Kaiser, George

Cary, Savannah Haynes, Matt Mulqueen, Brendan Gaffney, and Nicole Riccio) advising them

that Plaintiffs intended to file a motion seeking leave to file a reply in support of their Motion for

Leave to File Late-Produced Document in Opposition to Summary Judgment (ECF No. 522) and

asking if they opposed. Mr. Mulqueen responded on November 21, 2013, saying that Defendants

do not oppose this motion.


                                                             /s/ Joseph R. Saveri
                                                               Joseph Saveri




 Case No. 2:20-cv-02892-SHL-tmp        4
 PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF MOTION FOR LEAVE TO
        FILE LATE-PRODUCED DOCUMENT IN OPPOSITION TO SUMMARY JUDGMENT
